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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                           Chapter 11

    YELLOW CORPORATION, et al., 1                    Case No. 23-11069 (CTG)

                          Debtors.                   (Jointly Administered)

                                                     Re: Dkt. Nos. 968, 1096


      SUPPLEMENT TO OBJECTION OF LINK LOGISTICS REAL ESTATE
MANAGEMENT LLC, BREIT INDUSTRIAL CANYON GA1B01 LLC, GPT ELKRIDGE
 TERMINAL OWNER LLC, GPT DEER PARK TERMINAL OWNER LLC, AND GPT
  ORLANDO TERMINAL OWNER LLC, TO DEBTORS’ NOTICE OF POTENTIAL
 ASSUMPTION OR ASSUMPTION AND ASSIGNMENT OF CERTAIN CONTRACTS
     OR LEASES ASSOCIATED WITH THE NON-ROLLING STOCK ASSETS

             Link Logistics Real Estate Management LLC and its affiliates GPT Orlando Terminal

Owner LLC, GPT Elkridge Terminal Owner LLC, GPT Deer Park Terminal Owner LLC, and

BREIT Industrial Canyon GA1B01 LLC (collectively, “Link Logistics”) hereby submit this

supplement to their objection [Dkt. 1096] (the “Cure Objection”) to the Debtors’ Notice of

Potential Assumption or Assumption and Assignment of Certain Contracts or Leases Associated

with the Non-Rolling Stock Assets (“Cure Notice”) [Dkt. 968], and respectfully state as follows.

                                            STATEMENT

             1.    Link Logistics owns and/or manages the four (4) real property locations described

on the attached Exhibit A, which are terminals leased by the Debtors pursuant to written

agreements (the “Leases”). The Cure Notice identified each of the Leases as potentially being

assumed and assigned in connection with the Debtors’ pending sale process, subject among other



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 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the
Debtors’ proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of
Debtors’ principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500
Outlook Street, Suite 400, Overland Park, Kansas 66211.
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things to payment of the corresponding amount set forth therein (the “Debtor Cure Amounts”).

Link Logistics identified the undisputed and/or correct amounts then-currently due and owing for

each Lease in Exhibit A to the Cure Objection (the “Lessor Cure Amounts”).

       2.      As noted in the Cure Objection, the Debtors continue to accrue or incur additional

charges under each Lease, including but not limited to rent, taxes, common area maintenance, and

other costs, and any such outstanding charges must be satisfied in full in connection with any

assumption or assignment of such Lease. Since the filing of the Cure Objection, the Debtors have

incurred certain additional such charges with respect to the Leases such that the current Lessor

Cure Amounts are reflected on Exhibit A hereto.

                                RESERVATION OF RIGHTS

       3.      Link Logistics reserves the right to amend and/or supplement the Cure Objection

and its cure claims, and to raise other and further objections to the assumption and assignment or

cure amounts with respect to the Leases, including without limitation with respect to adequate

assurance of future performance.

Dated: December 15, 2023                     GELLERT SCALI BUSENKELL & BROWN, LLC

                                             /s/ Michael Van Gorder
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                                             EXHIBIT A


Property Address            Description of          Lessor           Debtor Cure     Lessor Cure
                                Lease                                 Amount          Amount
6351 S Hanover Road,        Real Property    GPT Elkridge Terminal      $51,220      $129,706.51
Elkridge MD 21075-9998      Lease - Terminal Owner LLC

50 Burt Drive, Deer Park,   Real Property    GPT Deer Park              $31,883       $6,545.54
NY 11729                    Lease - Terminal Terminal Owner LLC

1265 LaQuinta Drive,        Real Property    GPT Orlando Terminal       $43,645      $221,616.87
Orlando, FL 32809           Lease - Terminal Owner LLC

1250 Terminus Drive         Real Property    BREIT Industrial           $71,062      $207,332.35*
Lithia Springs, GA 30122    Lease - Terminal Canyon GA 1B01 LLC


*The Debtors have sought to reject this lease as of 10/31/23 [Dkt. 1018]. Link Logistics does not
object to the rejection but has objected to the proposed effective date [Dkt. 1148].
